                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 1 of 32 Page ID #:212



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                                             5 PAR K PLA ZA
                                                              S U I T E 1400




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                                                                                                                15                        UNITED STATES DISTRICT COURT
                                                                                                                16                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                17                                WESTERN DIVISION
                                                                                                                18   HONG LIU,                              Case No. 2:20-cv- 08035-SVW-JPR
                                                                                                                19                  Plaintiff,              Honorable Stephen V. Wilson
                                                                                                                20           v.                             FARADAY&FUTURE INC.’S
                                                                                                                                                            OPPOSITION TO HONG LIU’S
                                                                                                                21   FARADAY&FUTURE INC.,                   MOTION TO DISMISS FIRST AND
                                                                                                                     SMART KING LTD., JIAWEI                FOURTH COUNTERCLAIM AND
                                                                                                                22   WANG, and CHAOYING DENG,               FARADAY&FUTURE INC. AND
                                                                                                                                                            SMART KING, LTD.’S
                                                                                                                23                  Defendants.             OPPOSITION TO MOTION TO
                                                                                                                                                            STRIKE SECOND AFFIRMATIVE
                                                                                                                24                                          DEFENSE
                                                                                                                25                                          Date:    February 8, 2021
                                                                                                                                                            Time:    1:30 p.m.
                                                                                                                26                                          Place:   Courtroom 10A
                                                                                                                27 AND RELATED COUNTERCLAIM.
                                                                                                                28
                                                                                                                     111924743
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 2 of 32 Page ID #:213



                                                                                                                 1                                          TABLE OF CONTENTS
                                                                                                                 2
                                                                                                                                                                                                                                 Page
                                                                                                                 3
                                                                                                                     I.    INTRODUCTION ........................................................................................... 1
                                                                                                                 4
                                                                                                                     II.   STATEMENT OF FACTS.............................................................................. 2
                                                                                                                 5   III.  LEGAL STANDARD ..................................................................................... 4
                                                                                                                 6   IV.   FF HAS PLED THE REQUISITE WHO, WHAT, WHERE, WHEN,
                                                                                                                           AND HOW OF LIU’S FRAUDULENT INDUCEMENT ............................. 5
                                                                                                                 7         A.    “What”: The Difference Between Liu’s Misrepresented &
                                                                                                                                 Actual Capabilities ................................................................................ 6
                                                                                                                 8
                                                                                                                           B.    When: During the Interview Process .................................................... 9
                                                                                                                 9         C.    How: By Hiring Him Based on His Misrepresented Capabilities ...... 11
                                                                                                                10               1.    FF’s Detailed allegations of Liu’s Misrepresentations of
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                                       His Capabilities Negates Dismissal .......................................... 11
                                                                                                                11               2.    Liu’s Misrepresentations Were Not Promises of Future
                                                                                                                                       Performance .............................................................................. 13
                                                                                                                12
                                                                               I R V I N E , C A 92614-2545




                                                                                                                     V.    FF’S FRAUD AND RESCISSION CLAIMS ARE PLAUSIBLE &
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                13         CONSISTENT WITH ITS ANSWER .......................................................... 14
                                                                                                                           A.    Liu’s Unverified Pleadings are Not Evidence and Should Not be
                                                                                                                14               Considered........................................................................................... 15
                                                                                                                15         B.    Liu Mischaracterizes FF’s Answer to His Allegations ....................... 17
                                                                                                                           C.    FF’s Allegations Meet Rule 9’s General Pleading Standard for
                                                                                                                16               Fraudulent Intent ................................................................................. 18
                                                                                                                17   VI. FF’S COUNTERCLAIM FOR RESCISSION STANDS............................. 22
                                                                                                                     VII. FF’S AFFIRMATIVE DEFENSE OF FRAUDULENT
                                                                                                                18         INDUCEMENT STANDS AND DENIAL OF LIU’S MOTION TO
                                                                                                                           STRIKE IS PROPER .................................................................................... 22
                                                                                                                19
                                                                                                                     VIII. ARGUMENTS GUISED AS THE NACHMANI DECLARATION
                                                                                                                20         FLOUT THE LOCAL RULES REGARDING DECLARATIONS
                                                                                                                           AND PAGE LIMITS AND SHOULD NOT BE CONSIDERED................ 24
                                                                                                                21   IX. CONCLUSION ............................................................................................. 24
                                                                                                                22
                                                                                                                23
                                                                                                                24
                                                                                                                25
                                                                                                                26
                                                                                                                27
                                                                                                                28
                                                                                                                                                                             -i-
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 3 of 32 Page ID #:214



                                                                                                                 1                                           TABLE OF AUTHORITIES
                                                                                                                 2
                                                                                                                                                                                                                                       Page(s)
                                                                                                                 3   Cases
                                                                                                                 4   Am. Gen. Life Ins. Co. v. Wright,
                                                                                                                 5     No. 08-7750 PA, 2009 WL 10675992 (C.D. Cal. July 2, 2009) ......................... 22
                                                                                                                 6   Anthony v. Iron Mountain, Inc.,
                                                                                                                 7      No. CV 20-05932-AB, 2020 WL 5793449 (C.D. Cal. Sept. 25,
                                                                                                                        2020) .................................................................................................................... 16
                                                                                                                 8
                                                                                                                     Apex Compounding Pharmacy, LLC v. eFax Corp.,
                                                                                                                 9     No. LA CV16–05165 .......................................................................................... 21
                                                                                                                10
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                     Ashcroft v. Iqbal,
                                                                                                                11      556 U.S. 662 (2009) ........................................................................................ 4, 24
                                                                                                                12
                                                                               I R V I N E , C A 92614-2545




                                                                                                                     Bonilla v. Nationstar Mortg., LLC,
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                13     No. EDCV1701785JGBKKX, 2018 WL 5116243 (C.D. Cal. Jan. 4,
                                                                                                                       2018) .................................................................................................................... 16
                                                                                                                14
                                                                                                                15   Cooper v. Pickett,
                                                                                                                       137 F.3d 616 (9th Cir.1997) ................................................................................ 18
                                                                                                                16
                                                                                                                     Copart, Inc. v. Sparta Consulting, Inc.,
                                                                                                                17
                                                                                                                       No. 214–CV–00046–KJM–CKD, 2015 WL 3622618 (E.D. Cal.
                                                                                                                18     June 9, 2015).................................................................................................... 2, 12
                                                                                                                19   Depot, Inc. v. Caring for Montanans, Inc.,
                                                                                                                20     915 F.3d 643 (9th Cir. 2019) ............................................................................... 11

                                                                                                                21   Deutsch-Hollandische Tabakgesellschaft Mbh & Co., Kg v.
                                                                                                                       Trendsettah USA, Inc.,
                                                                                                                22
                                                                                                                       No. SACV170181DOCJCGX, 2017 WL 7080262 (C.D. Cal. June
                                                                                                                23     16, 2017) .............................................................................................................. 22
                                                                                                                24   Fischler Kapel Holdings, LLC v. Flavor Producers, LLC,
                                                                                                                25      No. 219CV10309ODWGJSX, 2020 WL 6939887 (C.D. Cal. Nov.
                                                                                                                        25, 2020) .............................................................................................................. 11
                                                                                                                26
                                                                                                                27
                                                                                                                28
                                                                                                                                                                                  - ii -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 4 of 32 Page ID #:215



                                                                                                                 1                                           TABLE OF AUTHORITIES
                                                                                                                 2                                                 (continued)
                                                                                                                                                                                                                                      Page(s)
                                                                                                                 3   Gibson Brands, Inc. v. John Hornby Skewes & Co.,
                                                                                                                 4      No. CV 14-00609 DDP SSX, 2014 WL 4187979 (C.D. Cal. Aug.
                                                                                                                        22, 2014) .............................................................................................................. 23
                                                                                                                 5
                                                                                                                     Giron v. Wells Fargo Bank, N.A.,
                                                                                                                 6      No. 214CV02437ODWVBKX, 2014 WL 12589628 (C.D. Cal.
                                                                                                                 7      May 27, 2014)...................................................................................................... 10
                                                                                                                 8   In re GlenFed, Inc. Sec. Litig.,
                                                                                                                 9      42 F.3d 1541 (9th Cir. 1994) ................................................................................. 6

                                                                                                                10   Grand Fabrics Int’l Ltd. v. Melrose Textile, Inc.,
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                       No. 18-748 DSF, 2018 WL 6112619 (C.D. Cal. May 14, 2018) ........................ 19
                                                                                                                11
                                                                                                                12   Heber v. Toyota Motor Sales U.S.A., Inc.,
                                                                               I R V I N E , C A 92614-2545




                                                                                                                       No. SACV1601525AGJCGX, 2017 WL 5642312 (C.D. Cal. Sept.
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                13     20, 2017) .............................................................................................................. 18
                                                                                                                14
                                                                                                                     Hernandez v. Select Portfolio, Inc.,
                                                                                                                15     No. CV 15-01896 MMM ..................................................................................... 18
                                                                                                                16   Hsu v. UBS Fin. Servs. Inc.,
                                                                                                                17     507 F. App’x 716 (9th Cir. 2013) .......................................................................... 6

                                                                                                                18   Ingram v. Los Angeles Unified Sch. Dist.,
                                                                                                                        No. 19-55810, 2020 WL 7776924 (9th Cir. Dec. 31, 2020) ................................. 4
                                                                                                                19
                                                                                                                20   Izsak v. Wells Fargo Bank, N.A.,
                                                                                                                        No. C 13-05362 SI, 2014 U.S. Dist. LEXIS 52057 (N.D. Cal. Apr.
                                                                                                                21      14, 2014) ................................................................................................................ 9
                                                                                                                22
                                                                                                                     Kanarowski v. Bruker Nano, Inc.,
                                                                                                                23     No. CV 18-6323-GW(AFMX), 2019 WL 3249601 (C.D. Cal. Apr.
                                                                                                                       18, 2019) ........................................................................................................ 13, 14
                                                                                                                24
                                                                                                                25   Kontrick v. Ryan,
                                                                                                                       540 U.S. 443 (2004) ............................................................................................ 25
                                                                                                                26
                                                                                                                27
                                                                                                                28
                                                                                                                                                                                 - iii -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 5 of 32 Page ID #:216



                                                                                                                 1                                           TABLE OF AUTHORITIES
                                                                                                                 2                                                 (continued)
                                                                                                                                                                                                                                       Page(s)
                                                                                                                 3   Kulesa v. PC Cleaner, Inc.,
                                                                                                                 4     No. SACV12725JVSANX, 2012 WL 12886844 (C.D. Cal. Oct. 12,
                                                                                                                       2012) ...................................................................................................................... 9
                                                                                                                 5
                                                                                                                     Lopez v. Smith,
                                                                                                                 6     203 F.3d 1122 (9th Cir. 2000) ............................................................................... 5
                                                                                                                 7
                                                                                                                     Lovejoy v. AT&T Corp.,
                                                                                                                 8     92 Cal. App. 4th 85 (2001) .................................................................................. 19
                                                                                                                 9   Manlin v. Ocwen Loan Servicing, LLC,
                                                                                                                10     No. CV 16-06625-AB, 2017 WL 8180779 (C.D. Cal. Dec. 7, 2017)................. 21
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                11   Mazal Grp., LLC v. Espana,
                                                                                                                12     No. 217CV05856RSWLKS, 2017 WL 6001721 (C.D. Cal. Dec. 4,
                                                                               I R V I N E , C A 92614-2545




                                                                                                                       2017) ...................................................................................................................... 5
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                13
                                                                                                                     Miller v. City & Cnty. of San Francisco,
                                                                                                                14
                                                                                                                        187 Cal. App. 2d 480 (1996) ............................................................................... 13
                                                                                                                15
                                                                                                                     MJC Am., Ltd. v. Gree Electric Appliances, Inc. of Zhuhai,
                                                                                                                16     No. CV1304264SJOCWX, 2014 WL 12597149 (C.D. Cal. Aug. 13,
                                                                                                                17     2014) .................................................................................................................... 18

                                                                                                                18   In re Mortg. Elec. Registration Sys., Inc.,
                                                                                                                        754 F.3d 772 (9th Cir. 2014) ............................................................................... 15
                                                                                                                19
                                                                                                                20   Neubronner v. Milken,
                                                                                                                       6 F.3d 666 (9th Cir. 1993) ................................................................................... 10
                                                                                                                21
                                                                                                                     Oas v. Rama Capital Partners, LLC et al.,
                                                                                                                22
                                                                                                                       No. 820CV01634MCSADS, 2020 WL 7786546 (C.D. Cal. Nov.
                                                                                                                23     18, 2020) ................................................................................................................ 5
                                                                                                                24   Oestreicher v. Alienware Corp.,
                                                                                                                25     544 F. Supp. 2d 964 (N.D. Cal. 2008)................................................................. 16
                                                                                                                26   Patel v. Parnes,
                                                                                                                        253 F.R.D. 531 (C.D. Cal. 2008) .......................................................................... 6
                                                                                                                27
                                                                                                                28
                                                                                                                                                                                 - iv -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 6 of 32 Page ID #:217



                                                                                                                 1                                           TABLE OF AUTHORITIES
                                                                                                                 2                                                 (continued)
                                                                                                                                                                                                                                       Page(s)
                                                                                                                 3   R Power Biofuels, LLC v. Chemex LLC,
                                                                                                                 4      No. 16-CV-00716-LHK, 2016 WL 6663002 (N.D. Cal. Nov. 11,
                                                                                                                        2016) .................................................................................................................... 11
                                                                                                                 5
                                                                                                                     Reese v. BP Exploration (Alaska) Inc.,
                                                                                                                 6      643 F.3d 681 (9th Cir. 2011) ............................................................................... 13
                                                                                                                 7
                                                                                                                     RePET, Inc. v. Zhao,
                                                                                                                 8     No. EDCV152315VAPSPX, 2016 WL 11634745 (C.D. Cal. Sept.
                                                                                                                 9     2, 2016) ................................................................................................................ 17

                                                                                                                10   Richard P. v. Vista Del Mar Child Care Serv.,
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                        106 Cal. App. 3d 860 (Cal. Ct. App. 1980)......................................................... 14
                                                                                                                11
                                                                                                                12   Salameh v. Tarsadia Hotel,
                                                                               I R V I N E , C A 92614-2545




                                                                                                                        726 F.3d 1124 (9th Cir. 2013) ............................................................................. 10
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                13
                                                                                                                     Sanchez v. Aurora Loan Servs., LLC,
                                                                                                                14
                                                                                                                        NO. CV 13-08846 MMM, 2014 WL 12589660 (C.D. Cal. June 10,
                                                                                                                15      2014) .................................................................................................................... 21
                                                                                                                16   Stadco Acq. LLC v. Aerospace Holdings Inc.,
                                                                                                                17      No. CV–16–942–MWF–AGR, 2016 WL 9343762 (C.D. Cal. Sept.
                                                                                                                        21, 2016) .............................................................................................................. 21
                                                                                                                18
                                                                                                                     StreamCast Networks, Inc. v. IBIS LLC,
                                                                                                                19
                                                                                                                        No. CV 05-04239, 2006 U.S. Dist. LEXIS 97607 (C.D. Cal. May 1,
                                                                                                                20      2006) .............................................................................................................. 19, 20
                                                                                                                21   Surabhi v. Miller,
                                                                                                                22      No. 15CV1830-WQH-MDD, 2016 WL 4442814 (S.D. Cal. Aug.
                                                                                                                        19, 2016) .................................................................................................... 2, 11, 13
                                                                                                                23
                                                                                                                     Tanedo v. E. Baton Rouge Par. Sch. Bd.,
                                                                                                                24
                                                                                                                       No. SA CV10-01172 JAK, 2012 WL 5447959 (C.D. Cal. Oct. 4,
                                                                                                                25     2012) .................................................................................................................... 19
                                                                                                                26   Tenzer v. Superscope, Inc.,
                                                                                                                27      39 Cal. 3d 18 (1985) ............................................................................................ 19
                                                                                                                28
                                                                                                                                                                                  -v-
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 7 of 32 Page ID #:218



                                                                                                                 1                                          TABLE OF AUTHORITIES
                                                                                                                 2                                                (continued)
                                                                                                                                                                                                                                    Page(s)
                                                                                                                 3   UMG Recordings, Inc. v. Glob. Eagle Entm’t, Inc.,
                                                                                                                 4     117 F. Supp. 3d 1092 (C.D. Cal. June 22, 2015) ................................................ 18

                                                                                                                 5   Vess v. Ciba-Geigy Corp. USA,
                                                                                                                        317 F.3d 1097 (9th Cir. 2003) ......................................................................... 5, 13
                                                                                                                 6
                                                                                                                 7   Wenger v. Lumisys, Inc.,
                                                                                                                       2 F. Supp. 2d 1231 (N.D. Cal. 1998)..................................................................... 9
                                                                                                                 8
                                                                                                                     Whittlestone, Inc. v. Handi-Craft Co.,
                                                                                                                 9     618 F.3d 970 (9th Cir. 2010) ............................................................................... 22
                                                                                                                10
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                     Other Authorities
                                                                                                                11
                                                                                                                     Fed. R. Civ. P. 8 ........................................................................................................ 23
                                                                                                                12
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA




                                                                                                                     Fed. R. Civ. P. 8(a)-(c) ............................................................................................. 23
                                                              S U I T E 1400




                                                                                                                13
                                                                                                                14   Fed. R. Civ. P. 9 ........................................................................................ 9, 15, 18, 22
                                                                                                                15   Fed. R. Civ. P. 9(b) ............................................................................................ passim
                                                                                                                16
                                                                                                                     Fed. R. Civ. P. 12(b)(6) .................................................................................. 4, 15, 22
                                                                                                                17
                                                                                                                     Fed. R. Civ. P. 12(f).................................................................................................. 22
                                                                                                                18
                                                                                                                     Fed. R. Civ. P. 56(c)(4)............................................................................................. 24
                                                                                                                19
                                                                                                                20   Local Rule 7-7 .......................................................................................................... 24

                                                                                                                21   Local Rule 11-6 ........................................................................................................ 24
                                                                                                                22
                                                                                                                23
                                                                                                                24
                                                                                                                25
                                                                                                                26
                                                                                                                27
                                                                                                                28
                                                                                                                                                                                - vi -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 8 of 32 Page ID #:219



                                                                                                                 1   I.      INTRODUCTION
                                                                                                                 2           Plaintiff Hong “Henry” Liu (“Liu”) fraudulently induced innovative electric
                                                                                                                 3   vehicle startup company, Faraday&Future Inc. (“FF”), to enter into lucrative
                                                                                                                 4   employment agreements with him. Liu’s numerous misrepresentations—all made
                                                                                                                 5   knowing that he could not and would not perform—are described in great detail in
                                                                                                                 6   FF’s Counterclaim (“Counterclaim”), which plausibly pleads claims for fraud and
                                                                                                                 7   rescission.
                                                                                                                 8           Liu’s challenges to FF’s fraud and rescission claims (and fraud affirmative
                                                                                                                 9   defenses of FF and its parent company, Smart King Ltd. (“Smart King”)) are not
                                                                                                                10   founded in law or fact. Consistent with prior briefing, Liu substitutes rhetoric for
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                                                                                                                11   analysis, ignores binding precedent, and mischaracterizes other precedent and non-
                                                                                                                12   binding authority in an attempt to justify dismissal of FF’s fraud and rescission
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                13   claims and strike FF’s and Smart King fraud affirmative defenses. (ECF 72.) In
                                                                                                                14   doing so, Liu improperly relies on his own unproven and unverified pleadings. He
                                                                                                                15   also premises much of his argument on a purported conflict between FF’s fraud
                                                                                                                16   claim (alleging fraudulent inducement based on the difference between Liu’s
                                                                                                                17   claimed capabilities during the hiring process and the lack thereof once hired) and
                                                                                                                18   FF’s Answer to Liu’s Complaint (“Answer”) (denying knowledge of the veracity of
                                                                                                                19   Liu’s braggadocios accolades and purported opinions of others regarding his skills).
                                                                                                                20   (ECF 68; ECF 74-2, Ex. 1). But Liu’s reliance on his own representations, which
                                                                                                                21   FF never denies that he made, and the alleged opinions of others does not render
                                                                                                                22   them fact for the purposes of supporting his Motion to Dismiss FF’s First and
                                                                                                                23   Fourth Counterclaim and Strike FF’s and Smart King’s Second Affirmative
                                                                                                                24   Defense (“Motion”). (ECF 74.)
                                                                                                                25           The Counterclaim lays out the required “who, what, when, where, and how”
                                                                                                                26   details with the kind and volume of particularized facts sufficient to put Liu on
                                                                                                                27   notice of his misconduct and enable him to defend himself—the very purpose of
                                                                                                                28
                                                                                                                     111924743                                -1-
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 9 of 32 Page ID #:220



                                                                                                                 1   Rule 9(b)’s particularity requirement. (See, e.g., Countercl. at 2:5-12, 7:8-10:23,
                                                                                                                 2   11:1-22.) As alleged, Liu misrepresented his capability to perform the duties
                                                                                                                 3   commensurate with the high-ranking roles of Global General Counsel, Global Chief
                                                                                                                 4   Administrative Officer, Global Senior Advisor, and Senior Board Member. (Id. at
                                                                                                                 5   7:8-10:23.) Such misrepresentations are undoubtedly a proper basis for a
                                                                                                                 6   fraudulent inducement claim. See, e.g., Surabhi v. Miller, No. 15CV1830-WQH-
                                                                                                                 7   MDD, 2016 WL 4442814, at *2 (S.D. Cal. Aug. 19, 2016); Copart, Inc. v. Sparta
                                                                                                                 8   Consulting, Inc., No. 214–CV–00046–KJM–CKD, 2015 WL 3622618 (E.D. Cal.
                                                                                                                 9   June 9, 2015). FF relied on these misrepresentations during the interview process
                                                                                                                10   in hiring him and, within a year, realized it had been deceived into hiring an
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                                                                                                                11   expensive high-level executive who never intended to perform—because he could
                                                                                                                12   not perform: Liu shirked responsibility at every turn and, if he decided to grace a
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                13   meeting with his presence, he posed rudimentary questions exposing his
                                                                                                                14   inadequacies. (Id.) Thus, as set forth below, FF has provided sufficient detail to
                                                                                                                15   state its claim for fraudulent inducement such that Liu’s Motion is properly denied.
                                                                                                                16   II.     STATEMENT OF FACTS
                                                                                                                17           FF is an innovative California-based electric vehicle start-up company
                                                                                                                18   founded by Yueting Jia (“Jia”) in April 2014. (Countercl. at 3:14-15.) At the end
                                                                                                                19   of 2017, Jia became FF’s Chief Executive Officer (CEO). In November 2017, FF’s
                                                                                                                20   efforts to develop its flagship vehicle, the FF 91 took off with an investment made
                                                                                                                21   by Evergrande Health Industry Group Ltd. (“Evergrande”) in FF’s indirect parent
                                                                                                                22   company. (Id. at 3:16-25.) With the Evergrande funding, FF’s business was up and
                                                                                                                23   running, and Jia sought to hire a Global Chief Administrative Officer and General
                                                                                                                24   Counsel with the financial experience and legal expertise necessary to guide FF
                                                                                                                25   toward financial stability and an IPO. (Id. at 3:27-4:2.)
                                                                                                                26           Liu came recommended for that role by a company acquaintance who
                                                                                                                27   described him as a “top notch” capital fundraiser and attorney. (Id. at 4:3-5.) In
                                                                                                                28   interviewing for the role, Liu met with FF’s then president, Jiawei “Jerry” Wang
                                                                                                                     111924743                                -2-
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 10 of 32 Page ID #:221



                                                                                                                  1   (“Wang”) and Jia. (Id. at 4:6-7.) During this meeting, Liu represented that he
                                                                                                                  2   could be FF’s Global Chief Administrative Officer and General Counsel and could
                                                                                                                  3   guide FF toward financial stability and an IPO. (Id. at 4:7-8.)
                                                                                                                  4           Liu made detailed representations about his prior experience and how that
                                                                                                                  5   experience correlated with his purported ability to perform as FF’s Global Chief
                                                                                                                  6   Administrative Officer and General Counsel. Liu represented that he was
                                                                                                                  7   intimately familiar with China’s securities regulations and market rules,
                                                                                                                  8   representing that he had previously served as General Counsel and Director-
                                                                                                                  9   General of the China Securities Regulatory Commission and, in that role, was the
                                                                                                                 10   lead professional regulator responsible for drafting, interpreting, and administering
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                                                                                                                 11   China’s capital and securities market rules, and having served as a key member of
                                                                                                                 12   the stock issuance examination board. (Id. at 4:9-15.) Liu also expressly
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   represented that his areas of expertise span:
                                                                                                                 14                banking and finance, mergers and acquisitions, investments
                                                                                                                                   and transactions, and regulatory and disputes with a strong
                                                                                                                 15                emphasis on cross-border transactions involving Asia and
                                                                                                                                   Greater China. [Liu] has extensive experience representing
                                                                                                                 16                Asia- and Greater China-based companies conducting
                                                                                                                                   business in the United States and other parts of the world,
                                                                                                                 17                including in such industries as financial institutions and
                                                                                                                                   investment entities, real estate and infrastructure, aviation
                                                                                                                 18                and transportation, energy and resources, real estate and
                                                                                                                                   infrastructure, aviation and transportation, energy and
                                                                                                                 19                resources, and manufacturing and technology. He also
                                                                                                                                   advises US and foreign companies doing business in Asia
                                                                                                                 20                and Greater China, including in market access, direct
                                                                                                                                   investments, public and private funds, capital markets,
                                                                                                                 21                technology transfers and regulatory matters.

                                                                                                                 22   (Id. at 4:16-26.) Liu also boasted (and continues to boast) about his experience in
                                                                                                                 23   working at large law firms, including Mayer Brown, LLP (“Mayer”), touting that he
                                                                                                                 24   was “instrumental in connecting” Mayer’s offices internationally and had
                                                                                                                 25   represented clients in all major categories of transactions. (Id. at 4:27-5:5.) Liu
                                                                                                                 26   further heralded his investment banking background, claiming vast M&A and other
                                                                                                                 27   financing business transaction experience. (Id. at 5:6-9.) Liu represented that he
                                                                                                                 28   could use his purported vast connections in the U.S. and China to develop FF and
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                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 11 of 32 Page ID #:222



                                                                                                                  1   connect it with investment banks who could provide FF financing. (Id. at 5:26-6:2.)
                                                                                                                  2           Relying on Liu’s representations as to his ability and willingness to perform,
                                                                                                                  3   FF hired Liu as FF’s Global Chief Administrative Officer, Global General Counsel,
                                                                                                                  4   and Global Senior Advisor, and Senior Board Member of FF’s indirect parent
                                                                                                                  5   company. (Id. at 6:12-15.) FF entered an Employment Agreement and Director
                                                                                                                  6   Compensation Agreement with Liu, which Liu drafted. (Id. at 6:3-8.) In exchange
                                                                                                                  7   for his performance, Liu was to be paid handsomely under those agreements. (Id. at
                                                                                                                  8   6:21-7:2.) And those agreements expressly stated that Liu’s “duties and
                                                                                                                  9   responsibilities” in his roles at FF “shall be commensurate with such positions….”
                                                                                                                 10   (Id. at 6:19-20.)
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                                                                                                                 11           Less than a year after Liu was hired, it was readily apparent that Liu could
                                                                                                                 12   not and would not perform even basic tasks. (Id. at 7:9-13.) Liu did nothing to lead
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   FF to an IPO, did not connect FF with a single investment bank, could not advise
                                                                                                                 14   on litigation matters, could not advise on financial matters, refused to do anything
                                                                                                                 15   when Evergrande backed out of its investment, and generally refused to perform
                                                                                                                 16   any of the financial or legal tasks that he committed to preforming. (Id. at 8:4-
                                                                                                                 17   9:33.) Liu did nothing. (Id. at 9:24-25.) He had conned FF into hiring him,
                                                                                                                 18   knowing full well that he could never and would never perform what he was hired
                                                                                                                 19   to do. (Id. at 11:10-16.) Had FF known this, it would have never hired him. (Id. at
                                                                                                                 20   11:17-18.)
                                                                                                                 21   III.    LEGAL STANDARD
                                                                                                                 22           To withstand a motion under Federal Rule of Civil Procedure 12(b)(6), a
                                                                                                                 23   claimant need only allege facts that add up to “more than a sheer possibility that
                                                                                                                 24   defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In
                                                                                                                 25   reviewing a motion to dismiss, a court must “accept as true the complaint's factual
                                                                                                                 26   allegations, and [] construe those allegations in the light most favorable to the
                                                                                                                 27   [claimant].” Ingram v. Los Angeles Unified Sch. Dist., No. 19-55810, 2020 WL
                                                                                                                 28   7776924, at *4 (9th Cir. Dec. 31, 2020). Should the Court decide that any claim is
                                                                                                                      111924743                                 -4-
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 12 of 32 Page ID #:223



                                                                                                                  1   not sufficiently pleaded, leave to amend should be granted—even if no request is
                                                                                                                  2   made—unless the Court “determines that the pleading could not possibly be cured
                                                                                                                  3   by allegations of other facts.” Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir. 2000)
                                                                                                                  4   (citations and internal quotations omitted).
                                                                                                                  5           To state a claim of fraudulent inducement, a claimant must allege:
                                                                                                                  6   (1) misrepresentation; (2) knowledge of falsity; (3) intent to defraud; (4) justifiable
                                                                                                                  7   reliance; and (5) resulting damages. Mazal Grp., LLC v. Espana, No.
                                                                                                                  8   217CV05856RSWLKS, 2017 WL 6001721, at *5 (C.D. Cal. Dec. 4, 2017).
                                                                                                                  9   According to Rule 9(b), “when averments of fraud are made, the circumstances
                                                                                                                 10   constituting the alleged fraud ‘be ‘specific enough to give defendants notice of the
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                                                                                                                 11   particular misconduct ... so that they can defend against the charge and not just
                                                                                                                 12   deny that they have done anything wrong.’” Vess v. Ciba-Geigy Corp. USA, 317
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   F.3d 1097, 1106 (9th Cir. 2003) (quoting Bly–Magee v. Cal., 236 F.3d 1014, 1019
                                                                                                                 14   (9th Cir. 2001)). This includes “‘the who, what, when, where, and how’ of the
                                                                                                                 15   misconduct charged.” Vess, 217 F.3d at 1106 (quoting Cooper v. Pickett, 137 F.3d
                                                                                                                 16   616, 627 (9th Cir.1997) (superseded by statute on other grounds)). “A pleading is
                                                                                                                 17   sufficient under Rule 9(b) if it identifies the circumstances constituting fraud so that
                                                                                                                 18   a defendant can prepare an adequate answer from the allegations.” Oas v. Rama
                                                                                                                 19   Capital Partners, LLC et al., No. 820CV01634MCSADS, 2020 WL 7786546, at *5
                                                                                                                 20   (C.D. Cal. Nov. 18, 2020) (denying motion to dismiss fraud claim).
                                                                                                                 21   IV.     FF HAS PLED THE REQUISITE WHO, WHAT, WHERE, WHEN, AND
                                                                                                                 22           HOW OF LIU’S FRAUDULENT INDUCEMENT
                                                                                                                 23           From the outset, FF’s Counterclaim puts Liu on notice of the “who, what,
                                                                                                                 24   when, where and how” of his fraudulent misconduct. (See, e.g., Countercl. at 2:5-
                                                                                                                 25   12.) Liu does not contest that FF has inadequately pleaded “who” made and
                                                                                                                 26   received his fraudulent misrepresentations or “where” they were made. Rather,
                                                                                                                 27   Liu’s asserts that FF fails to meet the “what,” “when,” and “how.” However, FF’s
                                                                                                                 28   detailed allegations put Liu on more than sufficient notice of what he did that was
                                                                                                                      111924743                                -5-
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 13 of 32 Page ID #:224



                                                                                                                  1   fraudulent, when he committed it, and how it was committed.
                                                                                                                  2           A.    “What”: The Difference Between Liu’s Misrepresented & Actual
                                                                                                                  3                 Capabilities
                                                                                                                  4           Under Federal Rule of Civil Procedure 9(b), a pleading “must set forth what
                                                                                                                  5   is false or misleading about a statement, and why it is false.” Hsu v. UBS Fin.
                                                                                                                  6   Servs. Inc., 507 F. App’x 716, 717 (9th Cir. 2013).
                                                                                                                  7           Contrary to Liu’s assertions, FF’s in-depth examples of Liu’s
                                                                                                                  8   misrepresentations is by no means a “puzzle pleading.” The Ninth Circuit has
                                                                                                                  9   applied the term puzzle pleadings where voluminous pleadings (73 or 113 pages
                                                                                                                 10   long), lacked organization and failed to provide any reasons for falsity. In re
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                                                                                                                 11   GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1554 (9th Cir. 1994) (113 pages long),
                                                                                                                 12   superseded on other grounds by statute. See also Patel v. Parnes, 253 F.R.D. 531,
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   551 (C.D. Cal. 2008) (finding puzzle pleading where Court had to “wade through”
                                                                                                                 14   73 pages of allegations that failed to connect allegations of falsity to specific
                                                                                                                 15   statements). But FF’s Counterclaim provides specific headings under which it
                                                                                                                 16   provides numerous explanations as to what Liu did to fraudulently induce FF to
                                                                                                                 17   hire him.
                                                                                                                 18           FF specifically alleges that Liu’s representations regarding his capabilities,
                                                                                                                 19   skills, and experience were false. The misrepresentations include both written and
                                                                                                                 20   verbal communications based on Liu’s curriculum vitae and meetings during the
                                                                                                                 21   hiring process, providing content concerning the specific matter of Liu’s purported
                                                                                                                 22   qualifications and capabilities. The below table (“Table 1”) compares the
                                                                                                                 23   difference between what Liu represented as his capabilities and what he instead
                                                                                                                 24   delivered, as alleged in FF’s Counterclaim:
                                                                                                                 25    Liu’s Representations Regarding His         Liu’s Performance, Undercutting the
                                                                                                                        Skills, Capabilities, and Experience         Veracity of His Representations
                                                                                                                 26    Liu’s CV listed that his areas of           “After less than a year, it was readily
                                                                                                                       expertise encompass: banking and            apparent that Liu had materially
                                                                                                                 27    finance, mergers and acquisitions,          misrepresented his expertise and
                                                                                                                       investments and transactions, and           capabilities. He was unable to
                                                                                                                 28
                                                                                                                      111924743                                 -6-
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 14 of 32 Page ID #:225



                                                                                                                  1    Liu’s Representations Regarding His          Liu’s Performance, Undercutting the
                                                                                                                        Skills, Capabilities, and Experience           Veracity of His Representations
                                                                                                                  2    regulatory and disputes with a strong        perform in almost every area of his
                                                                                                                       emphasis on cross-border transactions        purported expertise and did not possess
                                                                                                                  3    involving Asia and Greater China.            the requisite legal skills to oversee the
                                                                                                                       [Liu] has extensive experience               company’s legal needs, let alone the
                                                                                                                  4    representing Asia- and Greater China-        business, finance, and legal acumen
                                                                                                                       based companies conducting business          needed to take FF to an IPO.” (Id. at
                                                                                                                  5    in the United States and other parts of      7:9-13.)
                                                                                                                       the world, including in such industries
                                                                                                                  6    as financial institutions and investment
                                                                                                                       entities, real estate and infrastructure,
                                                                                                                  7    aviation and transportation, energy and
                                                                                                                       resources, real estate and infrastructure,
                                                                                                                  8    aviation and transportation, energy and
                                                                                                                       resources, and manufacturing and
                                                                                                                  9    technology. He also advises US and
                                                                                                                       foreign companies doing business in
                                                                                                                 10    Asia and Greater China, including in
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                                                                                                                       market access, direct investments,
                                                                                                                 11    public and private funds, capital
                                                                                                                       markets, technology transfers and
                                                                                                                 12    regulatory matters. (Countercl. at 4:18-
                                                                               I R V I N E , C A 92614-2545




                                                                                                                       26.)
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13
                                                                                                                       “Liu represented he could be FF’s
                                                                                                                 14    Global Chief Administrative Officer
                                                                                                                       and General Counsel who would guide
                                                                                                                 15    FF toward financial stability and an
                                                                                                                       IPO.” (Id. at 4:6-8.)
                                                                                                                 16                                              “When Liu made himself available to
                                                                                                                       “Liu represented he could be FF’s         discuss FF’s financial circumstances
                                                                                                                 17    Global Chief Administrative Officer       with other executives, he often asked
                                                                                                                       and General Counsel who would guide       rudimentary questions that
                                                                                                                 18    FF toward financial stability and an      demonstrated his lack of understanding
                                                                                                                       IPO.” (Id. at 4:6-8.)                     of financing, fundraising, and capital
                                                                                                                 19                                              markets. Moreover, Liu was unable to
                                                                                                                       Liu claimed to have represented clients provide recommendations, advice, or
                                                                                                                 20    in all major categories of transactions.” direction for equity financing.” (Id. at
                                                                                                                       (Id. at 4:27-5:5.)                        7:18-22.)
                                                                                                                 21
                                                                                                                       “Liu represented he could be FF’s         “Liu not only failed to provide any
                                                                                                                 22    Global Chief Administrative Officer       plans for debt or equity financing, he
                                                                                                                       and General Counsel who would guide also failed to provide any contacts
                                                                                                                 23    FF toward financial stability and an      for investment banks or advisors
                                                                                                                       IPO.” (Id. at 4:6-8.)                     who could assist. This was in spite of
                                                                                                                 24                                              his prior claims during the interview
                                                                                                                       “Liu claimed to have represented          process that he had high-level
                                                                                                                 25    clients in all major categories of        contacts at leading investment
                                                                                                                       transactions.” (Id. at 4:27-5:5.)         advisor firms Blackstone and
                                                                                                                 26                                              Goldman Sachs, yet no one from
                                                                                                                       “Liu represented to FF that he also had those firms was ever introduced to
                                                                                                                 27    extensive connections in both the U.S. FF. Liu provided no meaningful
                                                                                                                       and China and could provide               contacts or advice regarding
                                                                                                                 28
                                                                                                                      111924743                                 -7-
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 15 of 32 Page ID #:226



                                                                                                                  1    Liu’s Representations Regarding His       Liu’s Performance, Undercutting the
                                                                                                                        Skills, Capabilities, and Experience        Veracity of His Representations
                                                                                                                  2    tremendous assistance to FF’s             restructuring or raising capital. Rather,
                                                                                                                       development. Liu described his            he deflected all of his responsibilities
                                                                                                                  3    investment banking background,            and removed himself from decision-
                                                                                                                       having worked as a managing director      making during some of FF’s most
                                                                                                                  4    of two U.S. investment banks to           critical points throughout the duration
                                                                                                                       support his ability to provide such       of his employment.” (Id. at 7:23-8:3
                                                                                                                  5    assistance.” (Id. at 5:26-6:2.)           (emphasis added).)
                                                                                                                  6                                              “Despite Liu’s representations that
                                                                                                                                                                 he had vast experience with the IPO
                                                                                                                  7    “Liu represented he could be FF’s         process and that he could quickly
                                                                                                                       Global Chief Administrative Officer       lead FF to an IPO, Liu did nothing to
                                                                                                                  8    and General Counsel who would guide assist FF on that front. Liu failed to
                                                                                                                       FF toward financial stability and an      identify any specific steps that FF
                                                                                                                  9    IPO.” (Id. at 4:6-8.)                     should take or that he would assist with
                                                                                                                                                                 to get FF to an IPO, despite Jia’s
                                                                                                                 10                                              repeated requests.” (Id. at 8:4-7
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                                                                                                                                                                 (emphasis added).)
                                                                                                                 11                                              “For example, Liu was tasked with
                                                                                                                                                                 supervising a lawsuit between FF and
                                                                                                                 12                                              EVelozcity, Inc. and FF’s former
                                                                               I R V I N E , C A 92614-2545




                                                                                                                                                                 executives. Yet, when questioned at
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13    “Liu had also promised to help with       executive meetings about the lawsuit,
                                                                                                                       FF’s on-going litigation, as would be     Liu could not provide even basic
                                                                                                                 14    expected of general counsel, yet failed information about the stage of
                                                                                                                       to do that as well . . .” (Id. at 8:8-9.) proceedings or discussions with
                                                                                                                 15                                              outside counsel. Worse yet, Liu had
                                                                                                                                                                 nothing to contribute regarding the
                                                                                                                 16                                              proposed litigation strategy that FF
                                                                                                                                                                 would follow.” (Id. at 8:10-15.)
                                                                                                                 17
                                                                                                                       “Although Liu had represented to          “[H]is failure to provide appropriate
                                                                                                                 18    FF during the interview process that guidance forced FF to instead rely on
                                                                                                                       he would manage outside counsel and other lawyers within its legal
                                                                                                                 19    provide substantive guidance to help      department and pay substantial legal
                                                                                                                       manage FF’s legal expenditures . . . .”   fees to outside counsel.” (Id. at 8:18-
                                                                                                                 20    (Id. at 8:16-18)                          20.)
                                                                                                                       “Liu represented he could be FF’s         “Liu also refused to oversee any
                                                                                                                 21                                              administrative departments as Chief
                                                                                                                       Global Chief Administrative Officer
                                                                                                                 22    and General Counsel who would guide Administrative
                                                                                                                                                                 that role as
                                                                                                                                                                                  Officer, abandoning
                                                                                                                                                                              well, again out of concern
                                                                                                                       FF toward financial stability and an      for his own  personal  interests.” (Id. at
                                                                                                                 23    IPO.” (Id. at 4:6-8.)                     9:16-18.)
                                                                                                                 24    “Liu represented he could be FF’s         “Liu further refused to sign contracts
                                                                                                                       Global Chief Administrative Officer
                                                                                                                 25    and General Counsel who would guide and        agreements that required his
                                                                                                                                                                 approval  and signature.” (Id. at 9:19-
                                                                                                                       FF toward financial stability and an      20.)
                                                                                                                 26    IPO.” (Id. at 4:6-8.)
                                                                                                                       “Liu’s CV listed that his areas of        “At no time did Liu express any
                                                                                                                 27    expertise encompass:                      informed opinions regarding FF’s
                                                                                                                       banking and finance, mergers and          actions and corporate governance. Nor
                                                                                                                 28
                                                                                                                      111924743                                -8-
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 16 of 32 Page ID #:227



                                                                                                                  1       Liu’s Representations Regarding His          Liu’s Performance, Undercutting the
                                                                                                                           Skills, Capabilities, and Experience           Veracity of His Representations
                                                                                                                  2       acquisitions, investments and                would he have been able to, as
                                                                                                                          transactions, and regulatory and             demonstrated by his sheer
                                                                                                                  3       disputes with a strong emphasis on           incompetence over the course of the
                                                                                                                          cross-border transactions involving          year.” (Id. at 9:21-23.)
                                                                                                                  4       Asia and Greater China. [Liu] has
                                                                                                                          extensive experience representing
                                                                                                                  5       Asia- and Greater China-based
                                                                                                                          companies conducting business in the
                                                                                                                  6       United States and other parts of the
                                                                                                                          world, including in such industries as
                                                                                                                  7       financial institutions and investment
                                                                                                                          entities, real estate and infrastructure,
                                                                                                                  8       aviation and transportation, energy and
                                                                                                                          resources, real estate and infrastructure,
                                                                                                                  9       aviation and transportation, energy and
                                                                                                                          resources, and manufacturing and
                                                                                                                 10       technology. He also advises US and
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                                                                                                                          foreign companies doing business in
                                                                                                                 11       Asia and Greater China, including in
                                                                                                                          market access, direct investments,
                                                                                                                 12       public and private funds, capital
                                                                               I R V I N E , C A 92614-2545




                                                                                                                          markets, technology transfers and
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13       regulatory matters.” (Id. at 4:18-26.)
                                                                                                                 14            Each of these detailed allegations inform Liu as to what he did that was
                                                                                                                 15   fraudulent, making them a far cry from “puzzle pleadings” and readily meeting
                                                                                                                 16   Rule 9’s heightened pleading requirement.1
                                                                                                                 17            B.     When: During the Interview Process
                                                                                                                 18            Liu argues that FF has not cited the year, month, or day on which any of the
                                                                                                                 19   misrepresentations were made during the interview process. Federal Rule of Civil
                                                                                                                 20   Procedure 9(b) is devoid of such a requirement. See Izsak v. Wells Fargo Bank,
                                                                                                                 21
                                                                                                                      1
                                                                                                                 22    Although Liu relies on Kulesa v. PC Cleaner, Inc., No. SACV12725JVSANX,
                                                                                                                      2012 WL 12886844 (C.D. Cal. Oct. 12, 2012) and Wenger v. Lumisys, Inc., 2 F.
                                                                                                                 23
                                                                                                                      Supp. 2d 1231 (N.D. Cal. 1998) for the proposition that a claimant must allege what
                                                                                                                 24   was “actually said” (Mot. at 15:9, 16:6-8), Wenger also acknowledged that
                                                                                                                      “paraphrased portrayals of oral statements may suffice where the statements’
                                                                                                                 25
                                                                                                                      content concerns specific matters.” 2 F. Supp. 2d at 1247. In Kulesa, the Court
                                                                                                                 26   dismissed plaintiff’s fraud claim where she paraphrased statements that she
                                                                                                                      purportedly saw on defendant’s website and its software. 2012 WL 12886844, at
                                                                                                                 27
                                                                                                                      *4. Here, FF has supplied detailed allegations averring the specific content of Liu’s
                                                                                                                 28   misrepresentations, as set forth in Table 1.
                                                                                                                      111924743                                    -9-
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 17 of 32 Page ID #:228



                                                                                                                  1   N.A., No. C 13-05362 SI, 2014 U.S. Dist. LEXIS 52057, at *10 (N.D. Cal. Apr. 14,
                                                                                                                  2   2014) (plaintiff was not required to plead the “exact date” of alleged
                                                                                                                  3   misrepresentations to meet Rule 9(b)’s “when” requirement; allegation that
                                                                                                                  4   statements were made “around June 2011” was sufficient).
                                                                                                                  5           Liu relies on Salameh v. Tarsadia Hotel, 726 F.3d 1124 (9th Cir. 2013)
                                                                                                                  6   wherein the Court of Appeals for the Ninth Circuit summarily affirmed dismissal
                                                                                                                  7   on common-law fraud claims because plaintiff failed to identify when the purported
                                                                                                                  8   misrepresentations were made. The appellate court did not hold that the specific
                                                                                                                  9   time or date must be supplied for such claims to survive dismissal. Id. at 1133.
                                                                                                                 10   Giron v. Wells Fargo Bank, N.A., No. 214CV02437ODWVBKX, 2014 WL
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                                                                                                                 11   12589628, at *6 (C.D. Cal. May 27, 2014) similarly did not grant dismissal for
                                                                                                                 12   failure to cite a specific date and time. Rather, plaintiff there “lump[ed]” together
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   defendants and failed to allege when they made the purported misrepresentations.
                                                                                                                 14   Id. at *4. As such, these factually inapposite cases do not require FF to cite the
                                                                                                                 15   specific date or time to meet Rule 9(b)’s heightened standard.
                                                                                                                 16           Rather, the purpose of Rule 9(b)’s particularity requirement is to “give
                                                                                                                 17   defendants notice of the particular misconduct which is alleged to constitute the
                                                                                                                 18   fraud charged so they can defend against the charge.” Neubronner v. Milken, 6
                                                                                                                 19   F.3d 666, 672 (9th Cir. 1993). It strains credulity for Liu to argue that he is not on
                                                                                                                 20   notice of when he made the misrepresentations alleged where (i) FF identifies the
                                                                                                                 21   interviewing process as the relevant time period and Liu’s start of employment as
                                                                                                                 22   February 2018 (Countercl. at 7:14-28, 11:6-8); (ii) Liu’s own pleading concedes
                                                                                                                 23   both that the process lasted no more than four-and-a-half months between October
                                                                                                                 24   2017 through mid-February 2018 and also specifies dates on which he met with FF
                                                                                                                 25   during that process (Compl. ¶ 27); and (iii) FF’s Answer admits the dates of these
                                                                                                                 26   meetings: the meeting between Liu and Jia at FF’s headquarters in California on
                                                                                                                 27   October 17, 2017, and the meetings during the month of January 2018 between Liu
                                                                                                                 28   and Jia, Mr. Wang, and Chaoying Deng at FF’s headquarters in California (Answer
                                                                                                                      111924743                                - 10 -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 18 of 32 Page ID #:229



                                                                                                                  1   ¶¶ 27, 31, 37).
                                                                                                                  2           Moreover, Liu’s reliance on cases dismissing claims where the purported
                                                                                                                  3   misrepresentations spanned between eight months and eight years are a far cry from
                                                                                                                  4   the few months alleged to have passed here. See Depot, Inc. v. Caring for
                                                                                                                  5   Montanans, Inc., 915 F.3d 643, 668 (9th Cir. 2019) (plaintiffs alleged defendants
                                                                                                                  6   made misrepresentations over the course of eight years); Fischler Kapel Holdings,
                                                                                                                  7   LLC v. Flavor Producers, LLC, No. 219CV10309ODWGJSX, 2020 WL 6939887,
                                                                                                                  8   at *1 (C.D. Cal. Nov. 25, 2020) (alleging misrepresentations occurred between
                                                                                                                  9   January 2015 through March 2016); R Power Biofuels, LLC v. Chemex LLC, No.
                                                                                                                 10   16-CV-00716-LHK, 2016 WL 6663002, at *13 (N.D. Cal. Nov. 11, 2016) (averring
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                 11   an eight-month time-frame during which misrepresentations were alleged).
                                                                                                                 12           As such, FF’s Counterclaim sufficiently identifies the time, Liu’s pleading
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   confirms he is on notice of the specific time, and there is no factual dispute
                                                                                                                 14   regarding the dates of their meetings during the interview process. Rule 9(b)’s
                                                                                                                 15   particularity standard as to when the fraudulent conduct occurred is satisfied.
                                                                                                                 16           C.    How: By Hiring Him Based on His Misrepresented Capabilities
                                                                                                                 17           FF’s detailed allegations of Liu’s misrepresentation of his capabilities
                                                                                                                 18   adequately explain how Liu committed his fraud and FF relied thereon to hire him.
                                                                                                                 19   Contrary to Liu’s allegations, these allegations are not merely promises of future
                                                                                                                 20   performance, but rather bold misrepresentations of Liu’s ability to perform to
                                                                                                                 21   induce FF to hire him and enter the Employment Agreement and Director
                                                                                                                 22   Compensation Agreement.
                                                                                                                 23                 1.     FF’s Detailed allegations of Liu’s Misrepresentations of His
                                                                                                                 24                        Capabilities Negates Dismissal
                                                                                                                 25           Liu’s misrepresentations of his capabilities to induce FF to hire him are
                                                                                                                 26   sufficient to negate dismissal. See, e.g., Surabhi, 2016 WL 4442814, at *2 (finding
                                                                                                                 27   defendant’s allegations sufficiently stated a claim for fraudulent inducement where
                                                                                                                 28   he alleged plaintiff represented “he had the expertise and capability” to design a
                                                                                                                      111924743                                - 11 -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 19 of 32 Page ID #:230



                                                                                                                  1   product, held patents to such design in a separate company, and would “‘sell’ [his]
                                                                                                                  2   expertise” to defendant’s company to aid its manufacture of the product). Copart,
                                                                                                                  3   2015 WL 3622618, at *11-13 is instructive on this point. In Copart, the court
                                                                                                                  4   determined that a party’s reliance on the other party’s allegations regarding its
                                                                                                                  5   abilities, experience, staffing, and capabilities, were sufficient to state a claim of
                                                                                                                  6   fraudulent inducement. Id. at *12. For example, the plaintiff in Copart claimed
                                                                                                                  7   that, during the bidding period, defendant made several representations, such as that
                                                                                                                  8   it had the ability to address plaintiff’s functionality needs, solutions other
                                                                                                                  9   consultants did not have, and the ability to design programming and had experts
                                                                                                                 10   and a team of programmers suitable for the project. Id. at *11. The Court
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                                                                                                                 11   determined that “[t]he fraud-based allegations identify statements, representations,
                                                                                                                 12   and promises of [defendant’s] capabilities prior to the contract,” such that denial of
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   defendant’s motion to dismiss that claim was proper. Id. at *13.
                                                                                                                 14           Here, FF similarly alleges that Liu misrepresented his capabilities to induce
                                                                                                                 15   FF to hire him in not one, but three top positions. (Countercl. at 2:5-8.) FF puts
                                                                                                                 16   Liu on notice of these allegations from the outset. The Counterclaim’s leadoff
                                                                                                                 17   paragraph states: “Liu intentionally misrepresented his credentials, experience, and
                                                                                                                 18   connections to fraudulently induce FF to hire him in the roles of Global General
                                                                                                                 19   Counsel, Global Chief Administrative Officer, Global Senior Advisor, and Senior
                                                                                                                 20   Board Member, and offer him two lucrative employment contracts.” (Id.) FF
                                                                                                                 21   continues: “Liu represented to FF that he had the experience, skills, business
                                                                                                                 22   acumen, and the connections necessary to make FF, an innovative electric vehicle
                                                                                                                 23   start-up company, financially successful and take it to an initial public offering
                                                                                                                 24   (IPO).” (Id. at 2:9-12.) Yet, “[a]fter less than a year [of employment], it was
                                                                                                                 25   readily apparent that Liu had materially misrepresented his expertise and
                                                                                                                 26   capabilities. He was unable to perform in almost every area of his purported
                                                                                                                 27   expertise and did not possess the requisite legal skills to oversee the company’s
                                                                                                                 28   legal needs, let alone the business, finance, and legal acumen needed to take FF to
                                                                                                                      111924743                                 - 12 -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 20 of 32 Page ID #:231



                                                                                                                  1   an IPO.” (Id. at 7:9-13.) See also Section IV.A, supra (Table 1).
                                                                                                                  2           As demonstrated by Liu’s unproven factual allegations in response to FF’s
                                                                                                                  3   allegations. (Mot. at 12:14-17 (citing Compl. ¶¶ 1, 8, 20-26).) FF’s fraudulent
                                                                                                                  4   inducement allegations are more than sufficient to “give [Liu] notice of the
                                                                                                                  5   particular misconduct… so that [he] can defend against the charge and not just deny
                                                                                                                  6   that [he has] done anything wrong.” Vess, 217 F.3d at 1106. In other words, the
                                                                                                                  7   Counterclaim tells Liu how he committed the fraud.
                                                                                                                  8                 2.     Liu’s Misrepresentations Were Not Promises of Future
                                                                                                                  9                        Performance
                                                                                                                 10           Liu cannot characterize the lies he told to fraudulently induce FF to hire him
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                                                                                                                 11   as “[r]epresentations as to expectations and predictions as to future results or
                                                                                                                 12   events.” (See contra Mot. at 17:4-11.) Again, Liu’s statements were not promises
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   of future performance, but false promises as to his “skills, business acumen, and the
                                                                                                                 14   connections necessary for the roles he obtained with FF,” that Liu used to
                                                                                                                 15   fraudulently induce FF to hire him and agree to the lucrative Employment
                                                                                                                 16   Agreement. (Countercl. at 2:9-12.) Regardless, Liu misstates the law when he
                                                                                                                 17   asserts that “[u]nder California [l]aw, ‘a mere promise of future performance … is
                                                                                                                 18   not actionable [as fraud].’” (Mot. at 17:2-3 (quoting Miller v. City & Cnty. of San
                                                                                                                 19   Francisco, 187 Cal. App. 2d 480, 483 (1996)).) In full context, Miller states: “the
                                                                                                                 20   statement is a mere promise of a future performance of an act. Such a promise is
                                                                                                                 21   not actionable unless, when defendants made it, they had no intention to
                                                                                                                 22   perform it.” 187 Cal. App. 2d at 483-83 (emphasis added to reflect critical part of
                                                                                                                 23   quote omitted).2 Thus, even if Liu’s misrepresentations were mere promises of a
                                                                                                                 24
                                                                                                                      2
                                                                                                                       Liu also relies on Reese v. BP Exploration (Alaska) Inc., 643 F.3d 681, 692 (9th
                                                                                                                 25
                                                                                                                      Cir. 2011) and Kanarowski v. Bruker Nano, Inc., No. CV 18-6323-GW(AFMX),
                                                                                                                 26   2019 WL 3249601, at *1 (C.D. Cal. Apr. 18, 2019) in an attempt to support his
                                                                                                                      argument that fraud claims cannot be premised on promises of future performance
                                                                                                                 27
                                                                                                                      or events occurring after execution of a document. However, the court in Reese
                                                                                                                 28   acknowledged that “misrepresentation[s] of present-existing fact” at the time of
                                                                                                                      111924743                                - 13 -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 21 of 32 Page ID #:232



                                                                                                                  1   future performance of an act, they are still actionable fraud in that he knew he could
                                                                                                                  2   not perform because he did not possess the ability to perform—i.e. he had no intent
                                                                                                                  3   to perform and his promises to do so were made without regard for the truth. (See
                                                                                                                  4   Countercl. at 11:10-11.) See also Section V.C., infra (further discussing Liu’s
                                                                                                                  5   fraudulent intent).
                                                                                                                  6   V.      FF’S FRAUD AND RESCISSION CLAIMS ARE PLAUSIBLE &
                                                                                                                  7           CONSISTENT WITH ITS ANSWER
                                                                                                                  8           FF enumerates over twenty paragraphs of disconnects between Liu’s
                                                                                                                  9   purported expertise and actual performance (see, e.g., Countercl. at 7:1-10:19),
                                                                                                                 10   surpassing the general and plausibility pleading standards that the Ninth Circuit
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                                                                                                                 11   applies to fraud claims (see Fed. R. Civ. P. 9(b)). None of Liu’s arguments against
                                                                                                                 12   the plausibility of FF’s pleadings have merit. As an initial matter, Liu asserts,
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   without explanation, that FF failed to state the elements of justifiable reliance or
                                                                                                                 14   resulting damages. (Mot. at 15:10-12.) This is not so. (See, e.g., Countercl. at
                                                                                                                 15   5:10-25, 6:3-5, 11:15-16, 11:19-22.) As detailed below, the unproven allegations in
                                                                                                                 16   Liu’s Complaint also cannot defeat FF’s well-pled allegations. Liu’s argument that
                                                                                                                 17   FF’s Answer to certain allegations in Liu’s Complaint contradicts FF’s fraud
                                                                                                                 18   allegations also falls flat. And Liu applies the wrong standard to FF’s allegations of
                                                                                                                 19   Liu’s fraudulent intent, ignoring his own case law, which explains that fraudulent
                                                                                                                 20   intent only needs to be pled generally and not plausibly.
                                                                                                                 21
                                                                                                                 22
                                                                                                                      entering an agreement are properly alleged misrepresentations. Id. (citing In re
                                                                                                                 23
                                                                                                                      MobileMedia Secs. Litig., 28 F.Supp.2d 901, 939 (D.N.J. 1998)). Similarly, FF
                                                                                                                 24   alleges the misrepresentation was as to Liu’s capabilities at the time of contracting.
                                                                                                                      Cf. Richard P. v. Vista Del Mar Child Care Serv., 106 Cal. App. 3d 860, 865 (Cal.
                                                                                                                 25
                                                                                                                      Ct. App. 1980) (“Fraudulent representations, to constitute ground for relief, must be
                                                                                                                 26   as to existing and material facts . . . .” For the same reasons, this is not a mere
                                                                                                                      failure to “honor a contractual obligation.” (Contra Mot. at 12:22 (citing In re
                                                                                                                 27
                                                                                                                      Countrywide Fin. Corp. Mortg.-Backed Sec. Litig., No. 2:11-CV-07166-MRP, 2012
                                                                                                                 28   WL 10731957, at *7 (C.D. Cal. June 29, 2012).)
                                                                                                                      111924743                                - 14 -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 22 of 32 Page ID #:233



                                                                                                                  1           A.    Liu’s Unverified Pleadings are Not Evidence and Should Not be
                                                                                                                  2                 Considered
                                                                                                                  3           Liu relies upon his own unverified and unsupported Complaint in arguing
                                                                                                                  4   that FF’s allegations of falsity are implausible, regurgitating his fantastical and
                                                                                                                  5   subjective allegations that he is purportedly “a globally respected, well-known
                                                                                                                  6   lawyer who has worked for decades in senior positions in government and the
                                                                                                                  7   private sector, including as a partner with leading U.S. Law firms.” (Mot. at 12:14-
                                                                                                                  8   17 (citing Compl. ¶¶ 1, 8, 20-26); see also Mot. at 4:19-5:28 (citing Compl. ¶¶ 1-5,
                                                                                                                  9   15-29, 33-41, 57-59).) But, such unproven allegations, most of which FF denied,
                                                                                                                 10   are extrinsic to the facts alleged by FF and, thus, entirely irrelevant for the purposes
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                                                                                                                 11   of assessing FF’s pleading of its fraud and rescission claims under Rules 9 and
                                                                                                                 12   12(b)(6).3 Should the Court consider Liu’s unproven allegations in deciding his
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   Motion, it would convert the motion into one for summary judgment, requiring the
                                                                                                                 14   Court to “notify the parties before taking such action, in order to provide to the
                                                                                                                 15   parties a fair opportunity to present material relevant to summary judgment.” In re
                                                                                                                 16   Mortg. Elec. Registration Sys., Inc., 754 F.3d 772, 781 (9th Cir. 2014) (citing
                                                                                                                 17   Garaux v. Pulley, 739 F.2d 437, 438-39 (9th Cir. 1984)). And, even if considered,
                                                                                                                 18
                                                                                                                 19   3
                                                                                                                        Cases relied on by Liu support dismissal of claims where contract or other
                                                                                                                 20   language, not the other party’s allegations, render allegations implausible. (See
                                                                                                                      Mot. at 12:8-12 (citing Alexander & Baldwin, Inc. v. C&H Sugar Co., Inc., No.
                                                                                                                 21
                                                                                                                      CV091878GAFJWJX, 2010 WL 11508374, at *7 (C.D. Cal. Apr. 21, 2010)
                                                                                                                 22   (dismissing counterclaim where contract language conflicted with allegations);
                                                                                                                      Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001), opinion
                                                                                                                 23
                                                                                                                      amended on denial of reh’g, 275 F.3d 1187 (9th Cir. 2001) (affirming dismissal of
                                                                                                                 24   claim where exhibit to complaint, an arbitration award, undercut plaintiff’s
                                                                                                                      allegations of misconduct); Min Sook Shin v. Umeken, U.S.A., Inc., No.
                                                                                                                 25
                                                                                                                      SACV1700315CJCSSX, 2017 WL 6885380, at *9 (C.D. Cal. Oct. 26, 2017), aff’d
                                                                                                                 26   sub nom. Min Sook Shin v. Umeken USA, Inc., 773 F. App’x 373 (9th Cir. 2019)
                                                                                                                      (finding implausible plaintiff’s argument that more asterisks on a website
                                                                                                                 27
                                                                                                                      advertisement would have alerted her to a FDA disclaimer because the ad already
                                                                                                                 28   had an asterisk)).
                                                                                                                      111924743                                - 15 -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 23 of 32 Page ID #:234



                                                                                                                  1   FF’s detailed allegations of Liu’s nonperformance are in no way rebutted by Liu’s
                                                                                                                  2   allegations as to his capabilities. (See, e.g., Countercl. at 3:14-10:12.)4
                                                                                                                  3           And, even if Liu’s unproven allegations were true and were the proper
                                                                                                                  4   subject of a motion to dismiss (they are not), they still do not make FF’s allegations
                                                                                                                  5   implausible. That Liu fooled others (Mot. at 12:17-19, 12:20-13:4) or was
                                                                                                                  6   purportedly respected, well-known, or held certain positions (id. at 12:14-17), does
                                                                                                                  7   not refute that Liu misrepresented to FF his “experience, skills, business acumen,
                                                                                                                  8   and connections” to fraudulently induce FF to hire him in multiple key roles
                                                                                                                  9   (Countercl. at 3:16-6:6, 7:9-10:19). For example, Liu may have been a partner at
                                                                                                                 10   Mayer, but that does not contradict that he lied to FF when he misrepresented that
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                                                                                                                 11   he was capable of serving as start-up FF’s Global Chief Administrative Officer and
                                                                                                                 12   General Counsel, falsely touting that he had the requisite skills from his purported
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   experience as a “leader of [Mayer’s] US-China practice initiative” and his
                                                                                                                 14   purported representation of clients in all major categories of transactions. (Id. at
                                                                                                                 15   4:18-26 (quoting the curriculum vitae and press release that Liu submitted to FF
                                                                                                                 16   during the interview process).) Indeed, Liu’s allegations only highlight his inflation
                                                                                                                 17   and misrepresentation of his ability and skill set, while failing to demonstrate the
                                                                                                                 18
                                                                                                                 19   4
                                                                                                                        This case is a far cry from the allegations in Oestreicher v. Alienware Corp., 544
                                                                                                                 20   F. Supp. 2d 964, 968 (N.D. Cal. 2008) relied on by Liu. There, the court
                                                                                                                      determined that plaintiff’s fraudulent concealment allegations were so generic that
                                                                                                                 21
                                                                                                                      they “could be made about any alleged design defect in any manufactured product.”
                                                                                                                 22   Id. at 974. Similarly, the claimant in Anthony v. Iron Mountain, Inc., No. CV 20-
                                                                                                                      05932-AB (ASx), 2020 WL 5793449, at *12 (C.D. Cal. Sept. 25, 2020) summarily
                                                                                                                 23
                                                                                                                      claimed that the promisor knew his representations were false, or at least recklessly
                                                                                                                 24   disregarded their veracity. Id. Here, Liu makes no argument that FF’s claims are
                                                                                                                      generic, nor could he. Similarly, the general allegations of fraud in Bonilla v.
                                                                                                                 25
                                                                                                                      Nationstar Mortg., LLC, No. EDCV1701785JGBKKX, 2018 WL 5116243, at *3
                                                                                                                 26   (C.D. Cal. Jan. 4, 2018) are distinct from those set forth in Table 1. In Bonilla, the
                                                                                                                      claimant merely stated that he was “led” to believe a loan modification would be
                                                                                                                 27
                                                                                                                      granted, without identifying the speaker or even claiming any harm. Here, Table 1
                                                                                                                 28   sufficiently identifies Liu’s specific statements.
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                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 24 of 32 Page ID #:235



                                                                                                                  1   veracity of those allegations or that he ever performed or intended to perform.
                                                                                                                  2           As such, Liu’s own unproven and refuted allegations do not warrant
                                                                                                                  3   dismissal of FF’s fraud and rescission claims.
                                                                                                                  4           B.    Liu Mischaracterizes FF’s Answer to His Allegations
                                                                                                                  5           Liu argues that FF’s Answer contradicts FF’s allegations that Liu
                                                                                                                  6   misrepresented his capabilities during the interview process. Liu cites RePET, Inc.
                                                                                                                  7   v. Zhao, No. EDCV152315VAPSPX, 2016 WL 11634745, at *5 (C.D. Cal. Sept. 2,
                                                                                                                  8   2016) as an example of a court granting dismissal where allegations concerning
                                                                                                                  9   perpetuating fraud and the results of the fraud were contradictory, but Liu’s omits
                                                                                                                 10   the opinion’s full rationale. In RePET, the court determined that plaintiff failed to
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                                                                                                                 11   allege how it justifiably relied on the misrepresentations where plaintiff allegedly
                                                                                                                 12   knew that the statements were false at the time they were made. Id. at *4. Here,
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   Liu does not and cannot allege FF knew any of his statements were false.
                                                                                                                 14           Moreover, a review of the chart in Exhibit 1 to the Declaration of Jake
                                                                                                                 15   Nachmani (ECF 74-2) (the “Nachmani Declaration”) reveals this argument is false.
                                                                                                                 16   The chart quotes portions of the Complaint that relate to information within Liu’s
                                                                                                                 17   or a third party’s knowledge—not FF’s. For example, Liu claims that, “[b]etween
                                                                                                                 18   1995 and 2000,” he served various roles in non-FF organizations and that he
                                                                                                                 19   “played a prominent role in reforming the PRC securities industry . . . .”
                                                                                                                 20   (Nachmani Decl., Ex. 1 (quoting Compl. ¶ 18).) FF answered that it “lacks
                                                                                                                 21   knowledge or information sufficient to form a belief as to the truth or falsity of the
                                                                                                                 22   allegations” because it does not have personal knowledge of the dates Liu assumed
                                                                                                                 23   such roles, if at all, and whether such roles were “prominent.” Similarly, FF lacks
                                                                                                                 24   knowledge as to whether “Mr. Liu is recognized globally,” whether sometime “[i]n
                                                                                                                 25   the early 2000s, [he] served as a managing director of investment banking,” or that
                                                                                                                 26   he served in various “senior positions in the New York offices of global law firms.”
                                                                                                                 27   (Id.) These types of allegations call for FF to admit or deny information that is not
                                                                                                                 28   within its personal knowledge and would require confirmation from third parties as
                                                                                                                      111924743                                - 17 -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 25 of 32 Page ID #:236



                                                                                                                  1   to the dates, roles, and subjective significance of Liu’s contributions. Moreover,
                                                                                                                  2   Liu’s conduct gives FF reason to believe that many of these representations were
                                                                                                                  3   not true, giving FF all the more reason to ultimately deny them. There is a
                                                                                                                  4   significant difference between admitting that a statement was made and admitting
                                                                                                                  5   the truth of that statement. Although Exhibit 1 to the Nachmani Declaration cites
                                                                                                                  6   portions of FF’s answer expressing doubt as to the veracity of Liu’s statements, it in
                                                                                                                  7   no way contradicts FF’s allegations that Liu made those representations.5
                                                                                                                  8           At bottom, nothing in FF’s Answer contradicts or otherwise disproves any
                                                                                                                  9   allegation in FF’s Counterclaim.
                                                                                                                 10           C.    FF’s Allegations Meet Rule 9’s General Pleading Standard for
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                                                                                                                 11                 Fraudulent Intent
                                                                                                                 12           The Ninth Circuit recognizes that “[m]alice, intent, knowledge, and other
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   condition of mind of a person may be averred generally.” Cooper, 137 F.3d at
                                                                                                                 14   625 (emphasis added). Liu’s own authority comes to the same conclusion:
                                                                                                                 15   “allegations of scienter need not meet Rule 9(b)’s specificity requirement.” UMG
                                                                                                                 16
                                                                                                                      5
                                                                                                                        These facts are distinct from those in Heber v. Toyota Motor Sales U.S.A., Inc.,
                                                                                                                 17
                                                                                                                      No. SACV1601525AGJCGX, 2017 WL 5642312, at *2 (C.D. Cal. Sept. 20, 2017)
                                                                                                                 18   where the plaintiffs alleged that the car manufacture’s wiring was defective because
                                                                                                                      it was made of soy, which attracts rodents that can chew through it. However,
                                                                                                                 19
                                                                                                                      plaintiffs also acknowledged that rodents may enter vehicles for warmth and
                                                                                                                 20   shelter, such that the Court found the two separate potential causes of faulty wiring
                                                                                                                      to conflict. These facts are also distinct from MJC Am., Ltd. v. Gree Electric
                                                                                                                 21
                                                                                                                      Appliances, Inc. of Zhuhai, No. CV1304264SJOCWX, 2014 WL 12597149, at *7
                                                                                                                 22   (C.D. Cal. Aug. 13, 2014) where the defendant alleged that it lost customers due to
                                                                                                                      plaintiff/counter-defendant’s purported mismanagement. However, defendant also
                                                                                                                 23
                                                                                                                      averred that, rather than seek outside help, customers instead sought assistance from
                                                                                                                 24   one of its other subsidiaries. As such, defendant’s allegations were implausible.
                                                                                                                      Similarly, in Hernandez v. Select Portfolio, Inc., No. CV 15-01896 MMM AJWX,
                                                                                                                 25
                                                                                                                      2015 WL 3914741, at *10 (C.D. Cal. June 25, 2015), the plaintiff claimed both that
                                                                                                                 26   her application was complete and, later, that she requested additional information
                                                                                                                      for it. Because an application cannot both be complete and require additional
                                                                                                                 27
                                                                                                                      information, the averments were “inherently implausible.” None of these cases are
                                                                                                                 28   remotely analogous.
                                                                                                                      111924743                               - 18 -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 26 of 32 Page ID #:237



                                                                                                                  1   Recordings, Inc. v. Glob. Eagle Entm’t, Inc., 117 F. Supp. 3d 1092, 1109 (C.D. Cal.
                                                                                                                  2   June 22, 2015).6
                                                                                                                  3           Although “nonperformance alone will not support a finding of promissory
                                                                                                                  4   fraud” (Grand Fabrics Int’l Ltd. v. Melrose Textile, Inc., No. 18-748 DSF (AFMx),
                                                                                                                  5   2018 WL 6112619, at *2 (C.D. Cal. May 14, 2018)), pleading facts that tend to
                                                                                                                  6   show that the perpetrator of the fraud had no intention of performing at the time the
                                                                                                                  7   parties entered the contract is sufficient. See StreamCast Networks, Inc. v. IBIS
                                                                                                                  8   LLC, No. CV 05-04239, 2006 U.S. Dist. LEXIS 97607, at *26-27 n.40 (C.D. Cal.
                                                                                                                  9   May 1, 2006) (finding falsity sufficiently pleaded where plaintiff alleged the
                                                                                                                 10   defendant made representations without intending to perform). Accordingly, Liu’s
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                                                                                                                 11   reliance on Tanedo is misplaced. In Tanedo, the claimant summarily alleged that
                                                                                                                 12   the other parties to the contract “never intended to pay” the contracted “amounts to
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   [claimant], but instead intended to ignore their obligations to pay [claimant’s] fees
                                                                                                                 14   beyond the first twelve-month period.” Tanedo v. E. Baton Rouge Par. Sch. Bd.,
                                                                                                                 15   No. SA CV10-01172 JAK, 2012 WL 5447959, at *9 (C.D. Cal. Oct. 4, 2012).
                                                                                                                 16   These allegations did not sufficiently allege a fraudulent intent to induce the
                                                                                                                 17   claimant to enter into the contract. Id.
                                                                                                                 18           The present facts are more akin to those in StreamCast Networks, where the
                                                                                                                 19   plaintiff sufficiently alleged intent by claiming that, “[d]uring the solicitation and
                                                                                                                 20
                                                                                                                      6
                                                                                                                        Although California state law applies to the substantive claim, it does not
                                                                                                                 21
                                                                                                                      supersede the federal pleading standard for this procedural analysis. As such,
                                                                                                                 22   Lovejoy v. AT&T Corp., 92 Cal. App. 4th 85 (2001), as modified on denial of reh'g
                                                                                                                      (Oct. 5, 2001), is not binding on this Court. Moreover, Lovejoy proceeded to trial at
                                                                                                                 23
                                                                                                                      which point defendant moved for judgment on the pleadings. Id. at 89. The trial
                                                                                                                 24   court granted the motion, which the Court of Appeal reversed and then remanded
                                                                                                                      for further proceedings because the pleadings supported fraudulent concealment,
                                                                                                                 25
                                                                                                                      rather than the claimed affirmative fraud. Id. at 104. Accordingly, the procedural
                                                                                                                 26   posture of Lovejoy undercuts Liu’s reliance thereon. Tenzer v. Superscope, Inc., 39
                                                                                                                      Cal. 3d 18, 30 (1985) is likewise inapposite, applying the evidentiary standard
                                                                                                                 27
                                                                                                                      rather than the pleading standard in assessing the trial court’s ruling on a motion for
                                                                                                                 28   summary judgment.
                                                                                                                      111924743                                  - 19 -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 27 of 32 Page ID #:238



                                                                                                                  1   eventual negotiation, [defendant] knew the promises were false and made them to
                                                                                                                  2   intentionally induce [plaintiff] to execute the Agreement.” 2006 U.S. Dist. LEXIS
                                                                                                                  3   97607, at *26-*27 n.40. Plaintiff further asserted that “[defendant] did not intend to
                                                                                                                  4   fulfill its obligations and representations under the Agreement and/or knew that
                                                                                                                  5   [defendant] could not perform the obligations under the Agreement as
                                                                                                                  6   promised to [plaintiff].” Id. (emphasis added).
                                                                                                                  7           Like the plaintiff in StreamCast Networks, FF has alleged that Liu made
                                                                                                                  8   specific representations regarding his skills, experience, and capabilities during the
                                                                                                                  9   interview process to induce FF to hire him as Global Chief Administrative Officer
                                                                                                                 10   and General Counsel:
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                                                                                                                 11                Liu intentionally misrepresented his credentials, experience, and
                                                                                                                 12                 connections to fraudulently induce FF to hire him in the roles of
                                                                               I R V I N E , C A 92614-2545




                                                                                                                                    Global General Counsel, Global Chief Administrative Officer, Global
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13                 Senior Advisor, and Senior Board Member, and offer him two
                                                                                                                 14                 lucrative employment contracts. (Countercl. at 2:5-8.)
                                                                                                                 15                Based on Liu’s material representations, Liu was offered the positions
                                                                                                                 16                 of Global General Counsel, Global Chief Administrative Officer, and
                                                                                                                                    Global Senior Advisor at FF, and Senior Board Member at Smart
                                                                                                                 17                 King. (Id. at 6:3-5.)
                                                                                                                 18   (See also id. at 4:6-6:2 (describing Lui’s specific misrepresentations).)
                                                                                                                 19           However, Liu knew at the time he made such representations that he did not
                                                                                                                 20   have any intention of performing the duties required of those roles because he was
                                                                                                                 21   not capable of performing such duties. This incapability is alleged numerous
                                                                                                                 22   times throughout the Counterclaim, for example:
                                                                                                                 23
                                                                                                                                   When Liu made himself available to discuss FF’s financial
                                                                                                                 24                 circumstances with other executives, he often asked rudimentary
                                                                                                                                    questions that demonstrated his lack of understanding of
                                                                                                                 25
                                                                                                                                    financing, fundraising, and capital markets. Moreover, Liu was
                                                                                                                 26                 unable to provide recommendations, advice, or direction for equity
                                                                                                                 27                 financing. (Countercl. at 7:18-22 (emphasis added).)

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                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 28 of 32 Page ID #:239



                                                                                                                  1                After less than a year, it was readily apparent that Liu had
                                                                                                                  2                 materially misrepresented his expertise and capabilities. He was
                                                                                                                                    unable to perform in almost every area of his purported expertise
                                                                                                                  3                 and did not possess the requisite legal skills to oversee the company’s
                                                                                                                  4                 legal needs, let alone the business, finance, and legal acumen needed
                                                                                                                                    to take FF to an IPO. (Id. at 7:9-13 (emphasis added).)
                                                                                                                  5
                                                                                                                  6                At no time did Liu express any informed opinions regarding FF’s
                                                                                                                                    actions and corporate governance. Nor would he have been able to, as
                                                                                                                  7                 demonstrated by his sheer incompetence over the course of the year.
                                                                                                                  8                 (Id. at 9:21-23 (emphasis added).)

                                                                                                                  9   See also Section IV.A at Table 1, supra. FF’s pleading further details specific
                                                                                                                 10   instances in which Liu failed or refused to provide the legal, financial, and
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                                                                                                                 11   corporate guidance that he previously represented he was more than capable of
                                                                                                                 12
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                                                                                                                      delivering. (See Countercl. at 7:1-10:19.) As such, Liu’s reliance on cases
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   dismissing fraud claims for boilerplate allegations are inapposite. See, e.g., Manlin
                                                                                                                 14   v. Ocwen Loan Servicing, LLC, No. CV 16-06625-AB (KSx), 2017 WL 8180779,
                                                                                                                 15   at *4 (C.D. Cal. Dec. 7, 2017) (dismissing complaint because allegations of intent
                                                                                                                 16   were merely conclusory recitals of the elements of the cause of action); Apex
                                                                                                                 17   Compounding Pharmacy, LLC v. eFax Corp., No. LA CV16–05165 JAK (JPRx),
                                                                                                                 18   2017 WL 9500946, at *4 (C.D. Cal. Apr. 20, 2017) (dismissing complaint where
                                                                                                                 19   plaintiff provided only conclusory allegations recited from the elements of the
                                                                                                                 20   cause of action as to defendant’s intent not to fulfill the promise at issue); Stadco
                                                                                                                 21   Acq. LLC v. Aerospace Holdings Inc., No. CV–16–942–MWF–AGR, 2016 WL
                                                                                                                 22   9343762, at *6 (C.D. Cal. Sept. 21, 2016) (dismissing complaint for lack of scienter
                                                                                                                 23   because plaintiff failed to allege “any particular facts” concerning the knowing
                                                                                                                 24   falsity of its statements); Sanchez v. Aurora Loan Servs., LLC, NO. CV 13-08846
                                                                                                                 25   MMM (RZx), 2014 WL 12589660, at *19 n. 129 (C.D. Cal. June 10, 2014) (noting
                                                                                                                 26   that allegations such as that defendant “made the promises with no intent to
                                                                                                                 27   perform” would be insufficient to plead the speaker’s fraudulent state of mind
                                                                                                                 28
                                                                                                                      111924743                                - 21 -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 29 of 32 Page ID #:240



                                                                                                                  1   “absent some facts tending to show that defendants in fact intended to defraud”).
                                                                                                                  2           FF’s pleadings readily surpass Rule 9’s general pleading standard in pleading
                                                                                                                  3   fraudulent intent.
                                                                                                                  4   VI.     FF’S COUNTERCLAIM FOR RESCISSION STANDS
                                                                                                                  5           Liu cites no case law to support his contention that FF’s rescission
                                                                                                                  6   counterclaim is premised and dependent upon its fraudulent inducement
                                                                                                                  7   counterclaim. But, “rescission claims are distinct from fraud claims under
                                                                                                                  8   California law.” Am. Gen. Life Ins. Co. v. Wright, No. 08-7750 PA (FFMx), 2009
                                                                                                                  9   WL 10675992, *2 (C.D. Cal. July 2, 2009). Accordingly, Liu has failed to provide
                                                                                                                 10   any basis meriting dismissal of this claim.
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                                                                                                                 11           Moreover, as described above, FF has sufficiently met its burden under
                                                                                                                 12   Federal Rules of Civil Procedure 12(b)(6) and 9(b) such that, if considered with its
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   fraudulent inducement claim, its rescission claim stands.
                                                                                                                 14           For these reasons, denial of Liu’s motion to dismiss FF’s rescission claim is
                                                                                                                 15   proper.
                                                                                                                 16   VII. FF’S AFFIRMATIVE DEFENSE OF FRAUDULENT INDUCEMENT
                                                                                                                 17           STANDS AND DENIAL OF LIU’S MOTION TO STRIKE IS PROPER
                                                                                                                 18           “Motions to strike are disfavored and ‘will usually be denied unless the
                                                                                                                 19   allegations have no possible relation to the controversy and may cause prejudice to
                                                                                                                 20   one of the parties.’” Deutsch-Hollandische Tabakgesellschaft Mbh & Co., Kg v.
                                                                                                                 21   Trendsettah USA, Inc., No. SACV170181DOCJCGX, 2017 WL 7080262, at *1
                                                                                                                 22   (C.D. Cal. June 16, 2017) (quotation omitted) (providing defendants leave to
                                                                                                                 23   reamend their answer where the original answer made clear that defendants are
                                                                                                                 24   capable of alleging additional facts relevant to their fraudulent inducement
                                                                                                                 25   defense). Rule 12(f) of the Federal Rules of Civil Procedure states that a district
                                                                                                                 26   court “may strike from a pleading an insufficient defense or any redundant,
                                                                                                                 27   immaterial, impertinent, or scandalous matter.” See Whittlestone, Inc. v. Handi-
                                                                                                                 28   Craft Co., 618 F.3d 970, 973 (9th Cir. 2010) (declining to strike pleadings where
                                                                                                                      111924743                                - 22 -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 30 of 32 Page ID #:241



                                                                                                                  1   “motion was really an attempt to have certain portions of [plaintiff]’s complaint
                                                                                                                  2   dismissed . . . .”). “In considering a motion to strike, the court views the pleadings
                                                                                                                  3   in the light most favorable to the non-moving party.” Gibson Brands, Inc. v. John
                                                                                                                  4   Hornby Skewes & Co., No. CV 14-00609 DDP SSX, 2014 WL 4187979, at *2
                                                                                                                  5   (C.D. Cal. Aug. 22, 2014). In addition, “[g]rounds for a motion to strike must be
                                                                                                                  6   readily apparent from the face of the pleadings or from materials that may be
                                                                                                                  7   judicially noticed.” Id. at *2.
                                                                                                                  8           When considered alongside FF’s Counterclaim, FF and Smart King have
                                                                                                                  9   sufficiently pleaded the affirmative defense of fraud. Rule 8 of the Federal Rules of
                                                                                                                 10   Civil Procedure includes both claims for relief and affirmative defenses as
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                                                                                                                 11   pleadings. Fed. R. Civ. P. 8(a)-(c). Moreover, Liu himself argues that FF’s
                                                                                                                 12   Answer and Counterclaim should be considered together for purposes of
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   determining plausibility such that it is contradictory to argue the two cannot be
                                                                                                                 14   considered together for purposes of determining whether Liu is on sufficient notice
                                                                                                                 15   of FF’s allegations. (See, e.g., Mot. at 13, Nachmani Decl., Ex. 1 (arguing that FF’s
                                                                                                                 16   “Answer contradicts its Counterclaim”).)7 Further, Liu points to no case law
                                                                                                                 17   supporting dismissal of an affirmative defense where the defendant’s counterclaim
                                                                                                                 18   provides sufficient detail and, when construed alongside FF’s operative pleading,
                                                                                                                 19   the record establishes sufficient detail for FF’s affirmative defense. (See, e.g., Mot.
                                                                                                                 20   at 21:7-27 (citing Gibson, 2014 WL 4187979, at *8 (analyzing defense of fraud and
                                                                                                                 21   counterclaims on motion to dismiss); Trademark Holdings of Illinois, LLC v. Kings
                                                                                                                 22   Two Dental Supply, No. CV 09-01773 RGK (EX), 2009 WL 10674423, at *3 (C.D.
                                                                                                                 23   Cal. Aug. 20, 2009) (assessing answer); Bay City Surgery Ctr., Inc. v. Int'l
                                                                                                                 24   Longshore & Warehouse Union-Pac. Mar. Ass'n Welfare Plan Bd. of Trustees, No.
                                                                                                                 25
                                                                                                                      7
                                                                                                                 26    FF’s argument regarding the deficiencies of Exhibit 1 to the Nachmani
                                                                                                                      Declaration are addressed in Section VII.B, infra. Liu’s reliance on that chart in an
                                                                                                                 27
                                                                                                                      attempt to strike FF and Smart King’s affirmative defense of fraud remains
                                                                                                                 28   unavailing.
                                                                                                                      111924743                                - 23 -
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 75 Filed 01/15/21 Page 31 of 32 Page ID #:242



                                                                                                                  1   CV15-6209-MWF (AFM), 2016 WL 11185299, at *1 (C.D. Cal. Aug. 31, 2016)
                                                                                                                  2   (assessing defenses)).)
                                                                                                                  3           Because FF has sufficiently pled fraudulent inducement, the affirmative
                                                                                                                  4   defense of fraud similarly stands.
                                                                                                                  5   VIII. ARGUMENTS GUISED AS THE NACHMANI DECLARATION
                                                                                                                  6           FLOUT THE LOCAL RULES REGARDING DECLARATIONS AND
                                                                                                                  7           PAGE LIMITS AND SHOULD NOT BE CONSIDERED
                                                                                                                  8           Liu attaches a 14-page Exhibit, consisting entirely of legal argument, to the
                                                                                                                  9   Nachmani Declaration in an attempt to both refute FF’s Counterclaim and strike
                                                                                                                 10   portions of FF’s Answer. This usage flies in the face of the Local Rules. Local
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                                                                                                                 11   Rule 7-7 requires that declarations “contain only factual, evidentiary matter and
                                                                                                                 12   shall conform as far as possible to the requirements of F. R. Civ. P. 56(c)(4).” Yet,
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13   the Nachmani Declaration’s extensive argument that there are “[c]ontradictory
                                                                                                                 14   [a]llegations from [FF]’s Counterclaim,” serves as a legal argument and conclusion,
                                                                                                                 15   violating the Rule’s requirement that only factual, evidentiary matter be included in
                                                                                                                 16   declarations. (See ECF 72-2 at ECF p. 4.) Cf. Ashcroft, 556 U.S. at 678
                                                                                                                 17   (determining that a court is not required to accept as true legal conclusions couched
                                                                                                                 18   as factual allegations).
                                                                                                                 19           Moreover, when the 14-page declaration is combined with Liu’s 22-page
                                                                                                                 20   memorandum, Liu’s points and authorities far exceed Local Rule 11-6’s 25-page
                                                                                                                 21   maximum. For this reason, FF submits that the Nachmani Declaration should not
                                                                                                                 22   be considered.
                                                                                                                 23           For the above reasons, FF has sufficiently stated its claim for fraudulent
                                                                                                                 24   inducement such that Liu’s Motion is properly denied.
                                                                                                                 25   IX.     CONCLUSION
                                                                                                                 26           For the foregoing reasons, Plaintiff’s Motion to Dismiss and Motion to Strike
                                                                                                                 27   should be denied. Should the Court find that FF’s allegations in its Counterclaim or
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                                                                                                                      111924743                                - 24 -
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                                                                                                                  1   Answer are insufficient in any regard, FF respectfully requests that it be permitted
                                                                                                                  2   to amend its Counterclaim and/or Answer. Kontrick v. Ryan, 540 U.S. 443, 445,
                                                                                                                  3   (2004) (quoting Fed. R. Civ. P. 15 (“[L]eave [to amend] shall be freely given when
                                                                                                                  4   justice so requires.”)).
                                                                                                                  5   Dated: January 15, 2021                    Respectfully submitted,
                                                                                                                  6                                              TROUTMAN PEPPER HAMILTON
                                                                                                                                                                 SANDERS LLP
                                                                                                                  7
                                                                                                                  8                                              By: /s/ Lauren E. Grochow
                                                                                                                                                                   Lauren E. Grochow
                                                                                                                  9                                                Daniel Anziska
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                                                                                                                 10
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                                                                                                                                                                       Attorneys for Defendant and
                                                                                                                 11                                                    Counterclaimant
                                                                                                                                                                       FARADAY&FUTURE INC. and
                                                                                                                 12                                                    SMART KING, LTD.
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                                             5 PAR K PLA ZA
                                                              S U I T E 1400




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